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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
                                  Holding a Criminal Term
                        Grand Jury Sworn in on 16‐ 3,Novelllber 39 2016

UNITED STATES OF AMERICA                          CRIMINAL NO。

                V.                                GRAND JURY ORIGINAL
Jノ   姐ⅦES   A.BENJAMIN,                           Ⅵ     OLAT10NS:

                a[Wa "Jay Benjaminr"              18 UeSoC.§ 1341
                                                  o旺 ail Fraud)
                       Defendant.
                                                  18U.SoC。 §1343
                                                  餌 ire Fraud)

                                                  22 DeC.Code§ 3221(a)
                                                  σirst Degree Fraud)

                                                  18 UoS.C。   §1001
                                                  σalSe Statement)

                                                  FORFEITURE:
                                                  18 UoSoC.§ 982(a)(1)(C);
                                                  28U.S.C.§ 2461(c);and
                                                  21U.S.C.§ 853(p)

                                         INDICTM ENT
The Grand Jury charges that:
                                        INTRODUCT10N
At times material to this indictment:

        1.     Defendant JAMES A.BENJAMIN(``BENJAMIN''),                  also known as "Jay

BCttarnin,"was a resident ofMaryland.

        2.    Ventricle Ad宙 sory Consultants,LLC(“ VENTRICLE'') was a limited liability

company that was organized under the laws ofMaryland.
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         3.         DMPG, LLC ("DPMG"), was a limited liability company that was organized under

the laws of Maryland. The Maryland Department of Assessments and Ta:ration listed DPMG as

"forfeited" as of October 3, 201 l.

         4.         BENJAMIN organized and controlled VENTRICLE and DPMG.

         5.         J.G. was a resident of    Maryland.        J.G. was both a beneficiary and trustee of GFT, a

family trust derived from the estate of J.G.'s father.

         6.         D.L. was   a resident   of North Carolina.

         7   .      K.B. was   a resident   of the District of Columbia. T.B. was a resident of Maryland.

K.B. and T.B. were business partners who operated Company LE.

         8.         L.G. was a resident of Maryland and the pastor of a church in Maryland. L.G.

owned Company GGI.

                                                   The Scheme

                                                     Overview

         9.         Between about March 2015 and about March 2017, BENJAMIN conducted a

financial fraud scheme using VENTRICLE and DPMG. BENJAMIN used VENTRICLE to

fraudulently solicit and receive invesftnents and fees from investors and borrowers. BENJAMIN

used VENTRICLE and DPMG to obtain and launder the proceeds of the scheme, and to create the

appearance that he conducted a legitimate financial services business.

         10.        BENJAMIN told prospective investors and borrowers that he and VENTRICLE had

access   to, and expertise in, investnents and loans involving "bank instruments," especially

international "bank instruments" and "Standby Leffers of Credit," or "SBLCs."
                                                       ，
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          1   1.   BENJAMIN typically told prospective investors and borrowers that, through

VENTRICLE, he would serve as a "broker," "consultant," or other Upe of intermediary, and that

he and VENTRICLE would work with third parties that would help issue or obtain SBLCs.

          12.      BENJAMIN claimed that, by making up-front cash payments from about $16,000

to about $250,000, investors and borrowers could obtain millions of dollars tfuough SBLCs, even

if, to obtain the SBLCs and proceeds therefrom, they intended to rely on collateral that was worth

a fraction of the SBLC amount.

          13.      BENJAMIN structured the transactions and tailored his fraudulent representations

to ensure that, even without the knowledge or authonzation of the relevant investors and borrowers,

he would be able to obtain unauthorized fees, misappropriate investor funds, or both.

          14. In some cases, BENJAMIN told investors that the proposed SBLC transactions
would result in significant "non-recourse" SBLC loans that investors would never need to repay.

In other cases, BENJAMIN told investors that they would never need to repay SBLC loans because

a   portion of the loan proceeds would be invested; the profits from those investnents would be used

to repay the SBLC loans. In other          cases,   BENJAMIN told prospective borrowers that SBLC

financing would essentially work the same way that traditional mortgages and bank loans worked,

that is, the prospective borrowers would obtain money from the SBLC while they, in turn, provided

collateral purportedly securing the moneys received.

         15.       In this manner, by making a series of false and fraudulent representations, pretenses,

and promises concerning material facts, and by making fraudulent omissions that concealed

material facts, BENJAMIN intentionally misled prospective investors and borrowers into believing

that he would honestly and properly handle their investment and loan transactions. Through those
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representations, BENJAMIN caused prospective investors and borrowers to wire hundreds                    of

thousands of dollars to VENTRICLE bank accounts, ffid to bank accounts owned by third-party

companies that would then transfer money to VENTRICLE and DPMG.

        16.     BENJAMIN subsequently used the proceeds in VENTRICLE and DPMG bank

accounts to pay for his electric bills, satellite television bills, trips to casinos, and luxury vehicles.

In one case, BENJAMIN used newly-obtained investor funds from D.L. to refund $25,000 to J.G.

                                     Investment by J.G. and GFT

        17.     In or about April and May 2015, BENJAMIN solicited a $250,000 investment from

J.G. and   GFT. BENJAMIN falsely        represented that    all $250,000 would serve as collateral for   a


$5,000,000 SBLC that VENTRICLE would obtain. BENJAMIN also falsely represented that

                                              oonet
VENTRICLE's fees would be drawn from                  profits" that would result from the transaction.

        18.    BENJAMIN knew that the aforementioned representations were false when he made

them. BENJAMIN knew that he planned to keep $50,000 of the J.G./GFT investment for himself,

and that only $200,000 of the J.G./GFT investment would be available to serve as the "SBLC

Collateral."

        19.    By making a series of these and other false and fraudulent representations, pretenses,

and promises concerning material facts, and by making fraudulent omissions that concealed

material facts, BENJAMIN intentionally misled J.G. into believing that he and VENTRICLE would

honestly and properly J.G.'s investrnent money in the manner that BENJAMIN represented.




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       20.     On or about May 4,2015, as a result of BENJAMIN's representations, J.G. caused

GFT to wire $250,000 into a VENTRICLE bank account. BENJAMIN wired S200,000 of that

$250,000 into a bank account controlled by T.G., an individual who had been working with

BENJAMIN. BENJAMIN kept $50,000 of the J.G./GFT investment for his own                   personal

enrichment.

       21.     T.G. did not invest the funds as represented. However, by December 2015, T.G.

had agreed to refund the entire $200,000 that VENTRICLE had invested with    T.G.   Accordingly,

through two $100,000 wire transfers in December 2015 and January 2016, T.G. paid VENTRICLE

refunds totaling $200,000.

       22.    In January 2016, BENJAMIN falsely and fraudulently told J.G. that VENTRICLE

had received only $100,000 from   T.G. BENJAMIN then wired        $98,250 from VENTRICLE to

GFT. BENJAMIN falsely and fraudulently       claimed that bank fees consumed the missing $1,750.

       23.    BENJAMIN intentionally concealed the existence of T.G.'s other $100,000 refund

payment. Through misrepresentations and intentional omissions, BENJAMIN intentionally

misled J.G. and GFT to believe that VENTRICLE had only received $100,000 from T.G.

BENJAMIN kept the other $100,000 in    a   VENTRICLE bank account, which allowed BENJAMIN

to use that money for unauthonzed transactions, including his own personal enrichment.
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                                       First Investnent by D.L.

       24. In or about April 2016, BENJAMIN begin soliciting                invesfinents from D.L.

BENJAMIN told D.L. that he had expertise in o'trading and leveraging in banking instruments" and

'ocommercial real property trades."

        25.      Through a series of false and fraudulent representations, pretenses, and promises

concerning material facts, and by making fraudulent omissions that concealed material facts,

BENJAMIN intentionally misled D.L. into believing that VENTRICLE would properly and

honestly handle D.L.'s investment funds in the manner BENJAMIN represented; that VENTRICLE

would use D.L.'s investrnent funds for high-yield investments that involved "trading and leveraging

in banking instruments" and "commercial real property trades"; and that VENTRICLE would

obtain only agreed-upon fees from     D.L.   BENJAMIN made various oral representations about his

fees, including representations that created the false appearance that he would obtain only   industy-

standard fees.

       26.       BENJAMIN falsely told D.L. that her investment would be "leveraged" through         a

VENTRICLE "investment" account that regularly conducted international banking business.

BENJAMIN claimed that this special bank account would function similar to a hedge fund, such

that the funds therein would eirn significant returns. BENJAMIN further represented that the

account would include invesftnents from other investors, but that a third party would manage and/or

monitor the account to track each investor's funds.




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        27.     In fact, as BENJAMIN knew, neither BENJAMIN nor VENTRICLE held a special

investment account that regularly conducted international banking business, functioned similar to

a hedge fund, or otherwise earned significant returns. In fact, as BENJAMIN knew,                    the

VENTRICLE account that received D.L.'s money was a business checking account that

BENJAMIN controlled at M&T Bank.

        28. In fact, as BENJAMIN            knew, the VENTRICLE account that received D.L.'s

invesfinent would not be monitored by an any third party, nor by anyone else, except BENJAMIN.

In fact, as BENJAMIN knew, D.L.'s investnent would be commingled in a VENTzuCLE account

that BENJAMIN frequently used for personal spending, including cash withdrawals at casinos.

        29.     On or about July 29,2016, based on BENJAMIN's representations about the

proposed investment, D.L. wired $563,805.84 to a bank account controlled by an attorney, R.H.

        30.     Based on BENJAMIN's instructions, R.H. wired $60,000 of D.L.'s money to a bank

account for the benefit   of D.L. R.H. then wired        54g7,g58   to VENTRICLE. R.H. kept          the

remaining funds, approximately $5,847, as a fee for receiving and redistributing funds.

        31.     VENTRICLE received the $497,958 wire on or about August 8,2016. During the

months that followed, BENJAMIN had sole control over D.L.'s investment            funds. BENJAMIN

did not invest those funds in the manner that he had described to    D.L.   Instead, BENJAMIN used

hundreds of thousands of dollars of D.L.'s investment funds for unauthorized purposes, including

thousands of dollars for transfers among other bank accounts controlled by BENJAMIN, including

transfers to DPMG, as well as thousands of dollars for electric bills, satellite television bills, trips

to casinos, and payments on luxury vehicles.




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        32.    In January 2016, BENJAMIN sent D.L. a one-page report containing a fraudulent

sunmary of D.L.'s investment. The summary appeared to show that VENTRICLE had invested

D.L.'s money   as promised, reflecting "committed funds   for banking securities/SBlCs" involving

several corporate entities. However, as BENJAMIN knew, the summary and the representations

therein were materially false and fraudulent. Neither BENJAMIN nor VENTRICLE had made

any   of the listed investnents   involving "banking securities/SBlCs."        In fact, although
BENJAMIN had already used nearly $200,000            of D.L.'s    investment   by   January 2016,

approximately $300,000 remained in the VENTRICLE checking account.

                              SBLC Application For Company LE

       JJ.     In September 2A16, K.B. and T.B. were seeking a business loan to expand their

business, Company LE.

       34.     Through a series of false and fraudulent representations, pretenses, and promises

concerning material facts, and by making fraudulent omissions that concealed material facts,

BENJAMIN persuaded K.B. and T.B. to apply for an SBLC from MTF, which BENJAMIN

described as a third-parfy company that would help Company LE obtain non-bank financing,

including SBLCs. BENJAMIN told K.B. and T.B. that Company LE could obtain $2,000,000

through an SBLC that would issue based on an upfront payment of $96,000 and the use of certain

collateral owned by Company LE.

       35.     In September 2016, BENJAMIN falsely represented to K.B. and T.B. that Company

LE had been approved for the SBLC, and that the SBLC would issue in the near future, so long   as

K.B. and T.B. paid the $96,000 upfront guaranty fee ro MTF.
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       36.     Through a series of false and fraudulent representations, pretenses, and promises

concerning material facts, and by making fraudulent omissions that concealed material facts,

BENJAMIN intentionally misled K.B. and T.B. into believing that their S96,000 upfront payment

was fully refundable and that   it did not include any broker    fees   to BENJAMIN. In       fact,

BENJAMIN knew that he would take $30,000 of that upfront payment        as his nonrefundable fee.


       37.     On or about September 24,2016, based on BENJAMIN's representations, K.B. and

T.B. paid the MTF invoice on behalf of Company LE, including by a $50,000 cashier's check that

T.B. mailed from a U.S. Post Office in the District of Columbia. Shortly after MTF received

Company LE's payment, BENJAMIN submitted an invoice to MTF for $30,000. MTF paid

BENJAMIN the $30,000 fee through a wire transfer to a DPMG bank account controlled by

BENJAMIN.

                                   SBLC Application by D.L.

       38. In or about October 2016, BENJAMIN persuaded D.L. to obtain an SBLC.
BENJAMIN told D.L. that, based on an initial payment of $48,500, plus the use of two residential

properties as collateral, D.L. could obtain $2,000,000 through an SBLC. BENJAMIN claimed

that, even though D.L.'s residential properties were valued at less than $1,000,000, D.L. could

obtain a $2,000,000 SBLC by using those properties as collateral. BENJAMIN claimed that

$1,500,000 of the SBLC proceeds would immediately be available to D.L., and that BENJAMIN

would use the remaining $500,000 to make investments that would repay the SBLC.
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       39.     Through false and fraudulent representations, pretenses, and promises that

BENJAMIN made and caused to be made, BENJAMIN intentionally created the false impression

that D.L.'s $48,500 payment was required for, and would be used for, "Guaranty Charges" for the

SBLC. BENJAMIN        also intentionally created the false impression that none of the $48,500 would

be paid to BENJAMIN.

       40.     Based on BENJAMIN's false and fraudulent representations, pretenses, and

promises, on or about October 10, 2016, D.L. wired $48,500 to   MTF.    Shortly after MTF received

D.L.'s payment, BENJAMIN submiffed an invoice to MTF for $22,500. MTF paid BENJAMIN

the $22,500 fee through a wire transfer to a DPMG bank account controlled by BENJAMIN, where

it was used for various pu{poses, including payments on luxury vehicles.

                              SBLC Application For Company GGI

       41.     In November 2016, L.G. was the pastor of a church in Maryland. L.G.'s church

was seeking financing to purchase its church building.

       42.     Through a series of false and fraudulent representations, pretenses, and promises

concerning material facts, and by making fraudulent omissions that concealed material facts,

BENJAMIN persuaded L.G. and his church to apply for an SBLC from           MTF. BENJAMIN told
L.G., as well as other members of the church, that the church could obtain $6,000,000 through an

SBLC that would issue based on an upfront payment of $ 120,000.

       43.    BENJAMIN told L.G. and the church, although the church could be the beneficiary

in fact, an SBLC could only be issued to a for-profit entity. L.G. and the church agreed that

Company GGI, which was owned and operated by L.G., could be the formal applicant for the loan.




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          44.      In November 2016, BENJAMIN falsely represented to L.G. and the church that

Company GGI had been approved for the SBLC, and that the SBLC would issue in the near future,

so long L.G., the church, or Company GGI paid a $120,000 upfront guaranty fee to MTF.

          45.      Through a series of false and fraudulent representations, pretenses, and promises

concerning material facts, and by making fraudulent omissions that concealed material facts,

BENJAMIN intentionally misled L.G. and the church into believing that their $120,000 upfront

payment was fully refundable and that it did not include any broker fees to          BENJAMIN. In fact,

BENJAMIN knew that he would take $54,000 of that upfront payment                as his nonrefundable fee.

          46.      In about November 2016, based on BENJAMIN's representations, the church paid

the $120,000 on behalf of         GGI.    Shortly after MTF received Company GGI's payment,

BENJAMIN submitted an invoice to MTF for $54,000. MTF paid BENJAMIN the $54,000 fee

through a wire transfer to a DPMG bank account controlled by BENJAMIN.

                                        Final Investment by D.L.

         47.       In or about September 2016 through November 2016, BENJAMIN persuaded D.L.

to make an additional investment with VENTRICLE. BENJAMIN told D.L. that VENTRICLE

was involved with "real estate ventures" and that VENTzuCLE owned a "portfolio of properties"

that was then valued at $3,600,000.

         48.       BENJAMIN told D.L. that, if she invested in these   o'real
                                                                                estate ventures," her   "refurl

will   equate   to 16% annually," which BENJAMIN later adjusted to        17.5o/o   annually. BENJAMIN

told D.L. that VENTRICLE would "secure" her investment "with the entire 3,600,000."

BENJAMIN told D.L. that, because VENTRICLE would "be securing [D.L.'s] contributions with

the entire portfolio," and the investment would be "SECURE with no worries."
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        49. In fact, as BENJAMIN knew, VENTRICLE                   did not own any "portfolio" of

properties worth $3,600,000 and D.L.'s investment would not be "secured" with any such assets.

Moreover, as BENJAMIN knew, neither BENJAMIN nor VENTRICLE could truthfully make the

nnqualified claim that D.L.'s investment would earn 175% annual returns.

        50.    On or about November 8, 2016, based on BENJAMIN's materially false               and

fraudulent representations, pretenses, and promises, D.L. wired $225,000 to VENTRICLE.

       51.     D.L.'s invesfinent was never "secured" with a $3,600,000 real estate portfolio, or

with any similar assets. Instead, her investment was deposited into VENTRICLE's            business

checking account at M&T    Bank. BENJAMIN had sole control over that account.

        52.    BENJAMIN used D.L.'s $225,000 investment in a variety of unauthorized ways.

He paid $25,000 to GFT, as a refund of its investment; he repaid a $19,000 debt to a relative; he

withdrew over $9,000 from ATMs at casinos; and he lent $9,000 to an associate, 8.M., so that E.M.

could meet payroll obligations for his private security company.


                                          COTINT ONE
                                          (Mait Fraud)

       53.     Paragraphs I through 52 are re-alleged here.

       54.     Between about April 2015 and about February 2017, in the District of Columbia and

elsewhere, JAMES A. BENJAMIN knowingly devised and intended to devise a scheme and artifice

to defraud, and to obtain money and property by means of materiatly false and fraudulent pretenses,

representations, and promises.
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       55.        On or about September 24,2016, in the District of Columbia and elsewhere, for the

purpose of executing the above-described scheme and artifice to defraud, and affempting to do so,

JAMES A. BENJAMIN caused the United States Postal Service to deliver mail matter, that is, an

envelope containing a check for $50,000, from a U.S. Post Office in the District of Columbia to

MTF in Miami, Florida,.

                (Mail Fraud, in violation of Title   18, United States Code, Section 1341)



                                            COWTTWO
                                             (Wire Fraud)

       56.        Paragraphs I through 52 are re-alleged here.

       57   .     Between about April 2015 and about February 2017 , in the District of Columbia and

elsewhere, JAMES A. BENJAMIN knowiogly devised and intended to devise a scheme and artifice

to defraud, and to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises.

       58.        On or about February 13,2017, in the District of Columbia and elsewhere, for the

pu{pose of executing the scheme and artifice to defraud, and attempting to do so, JAMES A.

BENJAMIN did transmit and cause to be transmitted, by means of wire communications in

interstate corrmerce between Maryland and the District of Columbia, writings, signs, ffid signals

which comprised text messages to D.L., at atime when D.L. was in the District of Columbia.

                (Wire Fraud, in violation of Title   18, United States Code, Section 1343)




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                                           COT]NT THREE
                                         (First Degree Fraud)

          59.   Paragraphs I through 52 are re-alleged here.

          60.   Between about April 2015 and about February 2017, in the District of Columbia and

elsewhere, JAMES A. BENJAMIN engaged in a scheme and systematic source of conduct with

intent to defraud, and to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises, and thereby obtained money and proper(y that had a value

of $1,000 or more, consisting of money which was obtained from J.G., GFT, D.L., Company LE,

and Company GGI,     ffid then transferred to VENTRICLE and DMPG bank accounts.

       (First Degree Fraud, in violation of Title 22,D.C. Code, Sections 3221(a),3222(a))


                                           COT]NT FOUR
                                          (False Statement)

          61.   Paragraphs I through 52 are re-alleged here.

          62.   On or about   April 17,2017, in the District of Columbia and elsewhere, JAMES A.

BENJAMIN, did knowingly and willfully make a materially false, fictitious, ffid fraudulent

statement and representation    in a matter within the jr.risdiction of the executive branch of   the

Government of the United States, by falsely claiming that certain funds derived from D.L. had been

"held in trust for the benefit of   [D.L.]."   The statement and representation was false because, as

JAMES A. BENJAMIN then and there knew, the funds had never been held in trust for the benefit

of D.L.

           (False Statement, in violation of Title 18, United States Code, Section 1001)




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                                       FORF'EITURE ALLEGATION

        I   .     Upon conviction of either of the offenses alleged in Count One and/or Count Two,

the defendant shall forfeit to the United States any property, real or personal, which constitutes or

is derived from proceeds traceable to these offenses, pursuant to Title 18, United States Code,

Section 981(a)(lXC) and Title 28, United States Code, Section 2461(c). The property subject to

forfeiture includes:

                  a.        $302,032 .43 in funds from the   M&T Bank account number ending in 6629

                            held in the name of "Ventricle Advisory Consultants Escrow Account;"

                  b.        $147,001.2A in funds from the M&T Bank account number ending in 1852

                            held in the name of "Ventricle Advisory Consultants;" and

                  c.        One 2006 Bentley Continental with a VIN of SC88R53W06C037443.

The United States       will   also seek a forfeiture money judgment against the defendant equal to the

value of any property, real or personal, which constitutes or is derived from proceeds traceable to

these offenses.

       2.         If   any of the property described above as being subject to forfeiture, as a result   of
any act or omission of the defendant:

       a.         carurot be located upon the exercise of due diligence;

       b.         has been transferred or sold to, or deposited   with,   a   third party;

       c.         has been placed beyond the     jurisdiction of the Court;

       d.         has been substantially diminished in value; or

       e.         has been commingled      with other property that cannot be divided without

                  difficulty;
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the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p)).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(lXC), Title 28,
United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p))




                                                     A TRUE BILL



                                                     Foreperson




UNITED STATES ATTORNEY




                                               16
